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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

                                      )
  IN RE: JOHNSON & JOHNSON            )
  TALCUM POWDER PRODUCTS              )
  MARKETING, SALES PRACTICES AND )             MDL Docket No. 2738
  PRODUCTS LIABILITY LITIGATION       )
  ___________________________________ )
                                      )
  This Document Relates To:           )
                                      )
  Rico v. Johnson & Johnson,          )
  Case No. 3:17-cv-11342;             )
                                      )
                                      )
                                      )

    DEFENDANTS’ OPPOSITION TO PLAINTIFF’S RESPONSE TO THE
               COURT’S ORDER TO SHOW CAUSE
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                                INTRODUCTION


        Defendants Johnson & Johnson and LLT Management, LLC, oppose the

  Response to the Court’s Order to Show Cause filed by Plaintiff Amy Rico on July

  1, 2024 (ECF 32871). Plaintiff has failed to provide Defendants with Court-

  ordered discovery for over eight months. The Response to the Court’s Order to

  Show Cause indicates that Plaintiff is no longer cooperating with counsel or

  participating in the litigation. The Court should find that this Plaintiff has not

  shown good cause as to why her case should not be dismissed with prejudice.


             STATEMENT OF FACTS AND PROCEDURAL HISTORY


        Plaintiff was originally required to provide a Plaintiff Profile Form (“PPF”)

  to Defendants on October 16, 2023 pursuant to the Amended Plaintiff’s Profile

  Form Order (ECF 27291). Plaintiff failed to provide Defendants with a PPF by

  that deadline. Defendants thereafter provided Plaintiff with an extension to

  January 22, 2024 to serve a PPF. After once again failing to provide Defendants

  with the discovery by the extended deadline, Plaintiff was listed in the March 1,

  2024 PPF Report (ECF 29168) and then again in the April 1, 2024 PPF Report

  (ECF 30612).


        Subsequently, due to her continual failure to serve Defendants with a PPF,

  and in accordance with the Court’s Order outlining a protocol for adjudicating

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  cases that fail to serve PPFs (ECF 29032), Plaintiff was listed in the May 1, 2024

  Order to Show Cause issued by the Court (ECF 32811). Plaintiff now comes

  before the Court in an attempt to prevent the dismissal of her case with prejudice

  for her failure to provide Court-ordered discovery. Plaintiff seeks a dismissal

  without prejudice apparently to evade the discovery orders of the Court and

  preserve her case for another day and potentially another forum. Plaintiff’s

  response clearly demonstrates why the Court should not hesitate to dismiss her

  case with prejudice due to her discovery delinquency.


                                        ARGUMENT


        Plaintiff’s response indicates she has not cooperated with her counsel since

  approximately September 2023. See Rico Resp. at 2 (ECF 32871). The fact that

  Plaintiff is no longer participating in the litigation and will not provide the Court

  ordered discovery should end any argument. This admission alone clearly justifies

  dismissing Plaintiff’s cases with prejudice.

                                     CONCLUSION

        For the foregoing reasons, Defendants respectfully request the Court reject

  Plaintiff’s request to dismiss her case without prejudice and rule that Plaintiff has

  not shown good cause as to why her case should not be dismissed with prejudice.




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  Dated: July 3, 2024                    Respectfully submitted,

                                         /s/ Susan M. Sharko
                                         Susan M. Sharko
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                                         Johnson & Johnson and LLT
                                         Management, LLC




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